      Case 14-50333-gs          Doc 93    Entered 06/24/14 11:21:08           Page 1 of 3



 1   Timothy A. Lukas, Esq.
     Nevada Bar No. 4678
 2   Joseph G. Went, Esq.
     Nevada Bar No. 9220
 3   HOLLAND & HART LLP
     9555 Hillwood Drive, 2nd Floor
 4   Las Vegas, Nevada 89134
     Tel: (702) 669-4600
 5   Fax: (702) 669-4650
     Email: jgwent@hollandhart.com
 6
     Attorneys for John Beach, Trustee of the
 7   Beach Living Trust dated January 22, 1999
 8                              UNITED STATES BANKRUPTCY COURT
 9                                        DISTRICT OF NEVADA
10    In re:                                                      Case No.: BK-N-14-50333-btb
                                                                  Chapter: 11
11    ANTHONY THOMAS and WENDI THOMAS
                                                                  [Lead Case – Jointly Administered]
12
           Affects AT EMERALD, LLC                               Case No.: BK-N-14-50331-btb
13         Affects all Debtors                                   Chapter: 11

14                                                                NOTICE OF ENTRY OF ORDER
                                                                  GRANTING EX PARTE MOTION
15                                                                FOR ORDER REQUIRING THE
                                                                  PERSON MOST
16                                                                KNOWLEDGEABLE OF THE
                                                                  SARASOTA VAULT TO APPEAR
17                                                                FOR EXAMINATION AND TO
                                                                  PERMIT INSPECTION OF
18                                                                TANGIBLE THINGS PURSUANT
                                                                  TO FED R. BANKR. P. 2004
19             PLEASE TAKE NOTICE that on the 23rd day of June, 2014, an Order Granting Ex
20   Parte Motion for Order Requiring the Person Most Knowledgeable of the Sarasota Vault to
21   Appear for Examination and to Permit Inspection of Tangible Things Pursuant to Fed R. Bankr.
22   P. 2004 was entered in the above-captioned case, a copy of which is attached hereto.
23             Dated this 24th day of June, 2014.
24                                          HOLLAND & HART LLP
25
                                                  /s/ Joseph G. Went
26                                          By:_______________________
                                               Timothy A. Lukas, Esq. (4678)
27                                             Joseph G. Went, Esq. (9220)
28
                                                    Page 1 of 1
       Case
       Case 14-50333-btb
            14-50333-gs Doc
                         Doc 93
                             82 Entered
                                Entered 06/24/14
                                        06/23/14 11:21:08
                                                 15:53:56 Page
                                                          Page 21 of
                                                                  of 32



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   Entered on Docket
___________________________________________________________________
   5June 23, 2014

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  8   Timothy A. Lukas, Esq.
      Nevada Bar No. 4678
  9   Joseph G. Went, Esq.
      Nevada Bar No. 9220
 10   HOLLAND & HART LLP
      9555 Hillwood Drive, 2nd Floor
 11   Las Vegas, Nevada 89134
      Tel: (702) 669-4600
 12   Fax: (702) 669-4650
      Email: jgwent@hollandhart.com
 13
      Attorneys for John Beach, Trustee of the
 14   Beach Living Trust dated January 22, 1999
 15                              UNITED STATES BANKRUPTCY COURT
 16                                       DISTRICT OF NEVADA
 17    In re:                                                  Case No.: BK-N-14-50333-btb
                                                               Chapter: 11
 18    ANTHONY THOMAS and WENDI THOMAS
                                                               [Lead Case – Jointly Administered]
 19
             Affects AT EMERALD, LLC                          Case No.: BK-N-14-50331-btb
 20          Affects all Debtors                              Chapter: 11

 21                                                            ORDER GRANTING EX PARTE
                                                               MOTION FOR ORDER
 22                                                            REQUIRING THE PERSON MOST
                                                               KNOWLEDGEABLE OF THE
 23                                                            SARASOTA VAULT TO APPEAR
                                                               FOR EXAMINATION AND TO
 24                                                            PERMIT INSPECTION OF
                                                               TANGIBLE THINGS PURSUANT
 25                                                            TO FED R. BANKR. P. 2004

 26               This Court having reviewed the Ex Parte Motion for an Order Requiring the Person
 27   Most Knowledgeable of the Sarasota Vault to Appear for Examination and to Permit Inspection
 28
                                                 Page 1 of 2
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      Case
      Case 14-50333-btb
           14-50333-gs Doc
                        Doc 93
                            82 Entered
                               Entered 06/24/14
                                       06/23/14 11:21:08
                                                15:53:56 Page
                                                         Page 32 of
                                                                 of 32



 1   of Tangible Things Pursuant to Fed. R. Bankr. P. 2004 (the “Motion”) submitted by John Beach

 2   (“Beach”), as trustee of the Beach Living Trust dated January 22, 1999 (the “Beach Trust”), and

 3   good cause appearing therefore,

 4               IT IS HEREBY ORDERED that the Motion is GRANTED;

 5               IT IS FURTHER ORDERED that the Person Most Knowledgeable of the Sarasota

 6   Vault shall appear for an examination under oath as to any matter permitted by Fed. R. Bankr. P.

 7   2004, by counsel for the Beach Trust, and other interested parties who appear at Sarasota Vault,

 8   640 South Washington Boulevard, Suite 125, Sarasota, Florida, 34236, on July 10, 2014 at

 9   9:00 a.m. (or at such other mutually agreeable location, date and time) and continuing from day

10   to day thereafter until completion.

11               IT IS SO ORDERED.

12   Respectfully Submitted By:

13   HOLLAND & HART LLP

14          /s/ Joseph G. Went
15   By:_______________________
        Timothy A. Lukas, Esq.
16      Nevada Bar No. 4678
        Joseph G. Went, Esq.
17      Nevada Bar No. 9220
        9555 Hillwood Drive, Second Floor
18      Las Vegas, Nevada, 89134
        Attorneys for John Beach, Trustee of the
19      Beach Living Trust dated January 22, 1999
20

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